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FOR THE DISTRICT OF me asa AUG 19 PM 4: aI

RUTH AKERS, et al. * ChE PRS 3 CFRICE
AT ALT (MORE

Vv. * Civil Action No. RDB-18-1797
MARYLAND STATE . *
EDUCATION ASSOCIATION, et al.

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Defendants.

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AMENDED ORDER
For the reasons stated in the Memorandum Opinion of April 18, 2019 (ECF No. 110),
and pursuant to the Consent Order (ECF No. 118), it is this 19th day of August 2019,

ORDERED that:

1. State-Defendants’ Motion to Dismiss Amended Complaint (ECF No.
74) is GRANTED.

2. Motion to Dismiss Amended Complaint of Defendants Maryland State
Education Association, Teachers’ Association of Baltimore County,
Teachers’ Association of Anne Arundel County, and National
Education Association (ECF No. 75) is GRANTED.

3. Plaintiffs’ declaratory and injunctive claims ate DISMISSED AS
MOOT.

4. Plaintiffs’ claim for a refund of fees under 42 U.S.C. § 1983 is
DISMISSED WITH PREJUDICE.

5. All remaining federal-law claims in Plaintiffs’ Amended Complaint
(ECF No. 59} are DISMISSED WITH PREJUDICE.

6. The remaining state-law claims in Plaintiffs’ Amended Complaint (ECF
No. 59) are DISMISSED WITHOUT PREJUDICE.
 

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7. The Clerk of this Court shall transmit a copy of this Memorandum
Order to Counsel of record.

8. The Clerk of Court shall CLOSE this case.

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Richatd D. Bennett
United States District Judge
